                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                 3:12cr13

UNITED STATES OF AMERICA,                           )
                                                    )
                                                    )
Vs.                                                 )              ORDER
                                                    )
TIMOTHY JAMES DONAHUE,                              )
                                                    )
                 Defendant.                         )
_______________________________                     )

        THIS MATTER is before the court on defendant’s unopposed Motion Requesting

Peremptory Setting. The dates the parties propose, November 27 through November 30 are

already taken by other court proceedings. As it stands now, this case and the cases of the

codefendants are the oldest cases on this docket, and they will be first in line for trial. As the

only four day block available during the November term commences the week of calendar

call, counsel should be prepared to pick a jury on November 6, 2012, and go immediately

into trial. The week prior to trial, proposed jury instructions and a verdict sheet should be

filed in a PDF readable format.1 Having considered defendant’s motion and reviewed the

pleadings, the court enters the following Order.



                                            ORDER

        IT IS, THEREFORE, ORDERED that defendant’s Motion Requesting Peremptory

Setting (#124) is DENIED, and the parties are advised that this matter is the first case on for

trial commencing November 6, 2012.




        1
               See United States v. Carrothers, 3:10cr260 (W.D.N.C. 2012) (#s 143 &144).
                                              -1-



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                                 Signed: October 16, 2012




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